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Attorneys for Plaintiff:
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Suite A-?08

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

ROHLIG USA , LLC

Plaintiff,
¥S.

THE JOBE’S COMPANY, WHOLLY

OWNED BY CENTER LANE PARTNERS;

EASY GARDENER,
CORPORATION.

INC., A

Defendants.

 

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COMPLAINT FOR DAMAGES:

Breach of Contract
Open Book of Account
Account Stated
Quantum Meruit
Unjust Enrichment

OWN eR

PRINCIPAL AMOUNT $3,453,576.64

 

 

 

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COMPLAINT FOR DAMAGES - BREACH OF CONTRACT

 
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Comes Now, ROHLIG USA , LLC ,hereafter “Plaintiff”, for
causes of action against Defendants THE JOBE’S COMPANY, WHOLLY
OWNED BY CENTER LANE PARTNERS; EASY GARDENER,INC., a corporation
and each of them, as follows:

PARTIES

ths Plaintiff is a Limited Liability Company with
Headquarters maintained in Elk Grove, IL with additional offices
and facilities maintained and operated in Los Angeles, CA within
this judicial district. Plaintiff is domiciled in the State of
Illinois. At all times herein, Plaintiff operated as a domestic
and international freight forwarder and motor carrier.
Plaintiff and Defendants have conducted business with each other
for the past 10 years.

2s Defendant THE JOBE’S COMPANY, hereafter JOBES, is
wholly owned by CENTER LANE PARTNERS with its principal place of
business located in WACO, TEXAS. Based on information and
belief, it is thereon alleged that JOBES has and is conducting
business in ALL OF THE 50 States, including the state off
California and this judicial district. Defendant herein is
domiciled in the state of Texas. At all times mentioned herein,
JOBES arranged, contracted, and requested the freight forwarding
services of Plaintiff, as stated in the attached Statement of
Account to Exhibit A hereto.

Bis Defendant EASY GARDENER, INC., hereafter BASY|
GARDENER, iS a corporation with its principal place of business
located in WACO, TEXAS. Based on information and belief, it is
thereon alleged that EASY GARDENER has and is conducting

business in ALL OF THE 50 States, including the state of

 

 

 

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COMPLAINT FOR DAMAGES - BREACH OF CONTRACT

 
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California and this judicial district. Defendant herein igs
domiciled in the state of Texas. At all times mentioned herein,
EASY GARDENER arranged, contracted, and requested the freight
forwarding services of Plaintiff, as stated in the attached
Statement of Account to Exhibit A hereto.

4. Plaintiff reserves the right to amend and add
additional defendants upon discovery of such parties.

JURISDICTION AND VENUE

 

5. This judicial district is proper venue for this action
because this judicial district is where Plaintiff conducts
business and maintains and operates Los Angeles, Ca offices and
facility in this judicial district, pursuant to 28 USC 1391(b).
Further, Defendants established contacts within California, and
the actions herein arise of, or are related to or arise from
Defendants’ contacts.

6. Plaintiff brings this action based upon Diversity of
Citizenship as to Plaintiff and Defendants for a claim(s) in
excess of $75,0000 wherein this herein Federal Court has
original federal jurisdiction, 28 USC 1332.

Ve Plaintiff brings this action and claims against
Defendant(s} pursuant to 49 USC 14706 which this herein Federal
Court has federal question jurisdiction pertaining to liability

for payment for domestic and international shipments.

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COMPLAINT FOR DAMAGES - BREACH OF CONTRACT

 
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FIRST CAUSE OF ACTION-BREACH OF CONTRACT
(Against All Defendants)

8. Plaintiff refers to all of the allegations contained
in Paragraphs 1-7 of the complaint and by this reference
incorporates them herein as though fully set forth.

ls Based upon information and belief, it is thereon
alleged that at all times mentioned herein, during the four (4)
years preceding this lawsuit, Plaintiff was and is a licensed
transportation broker and freight forwarder by the Federal Motor
Carrier Safety Administration.

10. At all times mentioned herein, during the four (4)
years preceding this lawsuit, Defendant(s) JOBES, EASY GARDENER,
and each of them, were desirous of transporting certain goods
and wares for the benefit of their businesses from various
origins and be delivered at various designated domestic and
international locations by utilizing the freight forwarding
services of the Plaintiff.

ll. To accomplished the aforementioned desires of the
Defendants herein, JOBES, EASY GARDENER, and each of then
utilized the freight forwarding services of the plaintiff by
making oral requests and demands for said services and agreeing
to pay plaintiff for their services, and Plaintiff agreed to
provide the requested and demanded freight forwarding services
to the Defendants JOBES, EASY GARDENER, and each of them.

12. Further and except for those excused performances,
Plaintiff acted and performed as a freight forwarder and had
performed each and every oral request and demand by Defendants

JOBES, EASY GARDENER, and each of them by virtue of said oral

 

 

 

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COMPLAINT FOR DAMAGES - BREACH OF CONTRACT

 
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agreements and requests. Said performance of the oral demanded
and requested freight forwarder services took place during the
four (4) years preceding this filing of this lawsuit, on April
13, 2021 and subsequently. Plaintiff’s Statement of Account is
attached to Exhibit “A” hereto.

13. Defendant(s) JOBES, EASY GARDENER, and each of them,
materially breached the herein oral written transportation
agreement (s) by refusing and continuing to refuse to pay the
unpaid freight forwarding charges/services to the Plaintiff for
an indebtedness commencing on April 13, 2021 through November 3,
2021 for the principal sum of $3,453,576.64 or such other sum
proven at time of trial, for which the Defendants enjoyed the
economic benefit therefrom.

14. The above amount of $3,453,576.64 includes payments of
$345,149.27 paid to United States Customs by PLAINTIFF for and
on behalf of Defendants JOBE’S AND EASY GARDENER, AND EACH OF
THEM. See Exhibit A attached to this Complaint.

15. Plaintiff's counsel had placed demand upon
Defendant(s) JOBES, EASY GARDENER , and each of them, by virtue
of this complaint and service thereof, for the outstanding sum
of unpaid principal and accrued interest or such other sum
proven at time of trial pursuant to the agreed oral
transportation agreements herein, but said Defendant(s) JOBES,
EASY GARDENER, and each of them, have failed to pay Plaintiff
the outstanding principal sum of $3,453,756.64 and accrued
interest from the time of services rendered by plaintiff to
Defendants JOBES, EASY GARDENER, and each of them. Thus, the

Plaintiff have been damaged therefore in the said amount.

 

 

 

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COMPLAINT FOR DAMAGES - BREACH OF CONTRACT

 
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SECOND CAUSE OF ACTION-OPEN BOOK
(Against All Defendants)

16. Plaintiff refers to all of the allegations contained
in Paragraphs 1-15 of the complaint and by this reference
incorporates them herein as though fully set forth.

17. That Defendant(s) JOBES, EASY GARDENER, and each of
them, within the last four years became indebted to Plaintiff
herein on an open book account for a balance due for freight
forwarding and transportation services requested on and for the
behalf of Defendant(s) JOBES, EASY GARDENER, and each of them,
and rendered at the special instance and request of Defendants
JOBES, EASY GARDENER, and each of them, and for which
Defendant(s) JOBES, EASY GARDENER, and each of them, promised tad
pay Plaintiff the sum of $3,453,576.64 or such other sum proven
at time of trial.

18. Although demand for payment of said sum of has been
made, by virtue of this complaint and service thereof,
Defendant(s) , and each of them, have failed and refused to pay
said sum, and the whole principal amount thereof is now due, and
owing, and unpaid, together with interest at the rate of ten
(10) percent per annum, from and after April 13, 2021, the time
of the commencement of the herein indebtedness, or such othey

sum proven at time of trial.

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COMPLAINT FOR DAMAGES - BREACH OF CONTRACT

 
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THIRD CAUSE OF ACTION-ACCOUNT STATED
(Against All Defendants)

19. Plaintiff refers to all of the allegations contained
in Paragraphs 1-18 of the complaint and by this reference
incorporates them herein as though fully set forth.

20. That within the last four years prior to filing this
complaint, an ACCOUNT STATED was created/formed as a matter of
law between Plaintiff and Defendant(s) JOBES, EASY GARDENER, and
each of them. Defendant(s) JOBES, EASY GARDENER, and each of
them are indebted to Plaintiff in the sum of $3,453,576.64 for
an unpaid balance due for freight forwarding and transportation
services rendered on the behalf and benefit of Defendants herein
and each of them. All of which the Defendants JOBES, EASY
GARDENER, and each of them, have a legal obligation to pay
Plaintiff the sum of $3,453,576.64 plus accrued interest at the
rate of ten (10) percent per annum from and after April 13,
2021, the time of the commencement of the herein indebtedness,

or such other sum proven at time of trial.

FOURTH CAUSE OF ACTION-QUANTUM MERUIT
(Against All Defendants)

21. Plaintiff refers to all of the allegations contained
in Paragraphs 1-20 of the complaint and by this reference
incorporates them herein as though fully set forth.

22. That Defendant(s) JOBES, EASY GARDENER, and each of
them, within the last four years became indebted to Plaintiff in
the sum of $3,453,576.64 for an unpaid balance due for freight

forwarding and transportation services rendered on the behalf

 

 

 

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COMPLAINT FOR DAMAGES - BREACH OF CONTRACT

 
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and benefit of Defendant(s) JOBES, EASY GARDENER, and each of
them, at the special instance and request of said Defendants
herein and each of them; and for which aforementioned Defendants
JOBES, EASY GARDENER, and each of them, promised to pay
Plaintiff, and the reasonable value of the same is the sum of
$3,453,576.64 plus accrued interest at the rate of ten (10)
percent per annum from and after April 13, 2021, the time of the
commencement of the herein indebtedness, or such other sum

proven at time of trial.

FIFTH CAUSE OF ACTION-UNJUST ENRICHMENT

 

(Against All Defendants)

23. Plaintiff refers to all of the allegations contained
in Paragraphs 1-22 of the complaint and by this reference
incorporates them herein as though fully set forth.

24. As the result of unfair and tortuous acts of
Defendant(s) JOBES, EASY GARDENER, and each of them, as set
forth in this complaint, Plaintiff has been deprived of its
ability to optimize the receipt of payment of the subject matter
freight forwarding and transportation services provided to
Defendant(s) JOBES, EASY GARDENER, and each of them, pursuant to
the aforementioned specific requests and demands by the
Defendant(s) and its employees, agents, and representatives.

25. Based upon information and belief, it is thereon
alleged that Defendant(s) JOBES, EASY GARDENER, and each of
them, have been unjustly enriched by FREIGHT FORWARDING AND
Transportation Services provided to Defendants, and each of

them, without payment to Plaintiff. Hence, Plaintiff has

 

 

 

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COMPLAINT FOR DAMAGES - BREACH OF CONTRACT

 
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unjustly suffered losses and damages, due to the unlawful and
tortuous acts of the Defendants JOBES, EASY GARDENER and each of
them.

26. Plaintiff seeks restitution from Defendant(s) JOBES,
EASY GARDENER, and each of them, to the extent that they have
been unjustly benefited/enriched, all funds due, owing, and
belonging to Plaintiff as described in this complaint.

27. Plaintiff have been damaged resulting in compensatory
damages in a sum of $3,453,576.64 or such other amount subject
to proof at time of trial.

Wherefore, Plaintiff prays for judgment against Defendants
and each of them as follows:

(1) On all causes of action for the principal sum of
$3,453,576.64 or such other sum proven at trial; together with
interest thereon at the rate of ten (10) percent per annum from
Apri, 13, 2021. write patd im full,

(2) For Costs of Suit in the amount according to proof;

(3) Compensatory Damages according to proof;

(4) For Reasonable Attorney’s Fees; and

(9) For such other and further relief as the Court may deen

just and equitable.

GRANT LAW

Dated: thas le By: Y
/ / L. GRAN‘, ESQ.

ATSORNEY FOR PLAINTIFF

  

 

 

 

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COMPLAINT FOR DAMAGES - BREACH OF CONTRACT

 
